                                Case 8:22-bk-00103-CED                   Doc 1        Filed 01/10/22           Page 1 of 13


Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Senior Care Living VII, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3665 East Bay Drive, Ste. 204-429
                                  Largo, FL 33771
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Pinellas                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                               Case 8:22-bk-00103-CED                        Doc 1         Filed 01/10/22              Page 2 of 13
Debtor    Senior Care Living VII, LLC                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                Case 8:22-bk-00103-CED                             Doc 1       Filed 01/10/22             Page 3 of 13
Debtor    Senior Care Living VII, LLC                                                                     Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                         Case 8:22-bk-00103-CED                    Doc 1      Filed 01/10/22              Page 4 of 13
Debtor   Senior Care Living VII, LLC                                                    Case number (if known)
         Name

                               $50,001 - $100,000                           $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                               $100,001 - $500,000                          $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                               $500,001 - $1 million                        $100,000,001 - $500 million           More than $50 billion




Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
                              Case 8:22-bk-00103-CED                      Doc 1        Filed 01/10/22              Page 5 of 13
Debtor    Senior Care Living VII, LLC                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 10, 2022
                                                  MM / DD / YYYY

                                 /s/ Mark C Bouldin, President of Senior Care                             Mark C Bouldin, President of Senior Care
                             X   Ownership 4, LLC                                                         Ownership 4, LLC
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Michael C. Markham                                                    Date January 10, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Michael C. Markham
                                 Printed name

                                 Johnson, Pope, Bokor,
                                 Firm name

                                  Ruppel & Burns, LLP
                                 401 East Jackson Street #3100
                                 Tampa, FL 33602
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     813-225-2500                  Email address      mikem@jpfirm.com

                                 0768560 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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 Fill in this information to identify the case:

 Debtor name         Senior Care Living VII, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration               Voluntary Petition

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 10, 2022                        X /s/ Mark C Bouldin, President of Senior Care Ownership 4, LLC
                                                                       Signature of individual signing on behalf of debtor

                                                                       Mark C Bouldin, President of Senior Care Ownership 4, LLC
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Senior Care Living VII, LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 A Place for Mom,                                               vendor                                                                                                      $3,500.00
 Inc.
 PO Box 913241
 Denver, CO 80291
 Arrow                                                          vendor                                                                                                        $433.01
 Exterminators, Inc.
 5750 Rufe Snow
 Drive
 North Richland Hills,
 TX 76180
 Bluestone Pools,                                               vendor                                                                                                        $500.00
 LLC
 PO Box 92923
 Southlake, TX 76092
 Community Payroll                                              vendor                                                                                                      $4,096.97
 Suite 400
 301 Anchor Plaza
 Parkway
 Tampa, FL 33634
 Direct Supply                                                  vendor                                                                                                      $1,642.08
 PO Box 88201
 Milwaukee, WI
 53288
 Echo Lab                                                       vendor                                                                                                      $1,618.12
 PO Box 70343
 Chicago, IL 60673
 Eldermark Software                                             vendor                                                                                                        $660.82
 PO Box 844707
 Boston, MA 02284
 G5 Search                                                      vendor                                                                                                      $1,759.56
 Marketing, Inc.
 Dept LA 23988
 Pasadena, CA 91185
 HD Supply Facilities                                           vendor                                                                                                        $949.71
 Mtnce
 PO Box 509058
 San Diego, CA
 92150

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Senior Care Living VII, LLC                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 HM LIfe Insurance                                              vendor                                                                                                        $547.59
 Company
 PO Box 382038
 Pittsburgh, PA
 15251
 McKesson                                                       vendor                                                                                                      $1,804.94
 Medical-Surgical
 PO Box 204786
 Dallas, TX 75320
 Our Place Tuxedos                                              vendor                                                                                                      $1,235.10
 & Uniforms
 2044 Smith Street
 North Providence,
 RI 02911
 Senior Care Living                                             vendor                                                                                                  $346,062.97
 VI, LLC
 6400 Oilfield Rd
 Sugar Land, TX
 77479
 Senior Living                                                  vendor                                                                                                      $7,000.00
 Specialists
 14580 Berklee Drive
 Addison, TX 75001
 Silversphere, LLC                                              vendor                                                                                                      $3,276.85
 Suite 200
 2570 W Int'l
 Speedway Blvd
 Daytona Beach, FL
 32114
 Sodexo, Inc &                                                  vendor                                                                                                    $89,972.98
 Affiliates
 PO Box 360170
 Pittsburgh, PA
 15251
 Thyssenkrupp                                                   vendor                                                                                                        $714.48
 Elevator Corp
 PO Box 3796
 Carol Stream, IL
 60132
 UMB Bank, NA                                                   All assets of                                  $45,000,000.00                          $0.00        $45,000,000.00
 Master Trustee                                                 Debtor
 120 S. Street #1400
 Minneapolis, MN
 55402
 Validus Senior                                                 vendor                                                                                                    $31,256.26
 Living REIT
 Suite 400
 4301 Anchor Plaza
 Parkwy
 Tampa, FL 33634




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Senior Care Living VII, LLC                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 VSL HOldings, LLC                                              vendor                                                                                                  $515,609.46
 Suite 400
 4301 Anchor Plaza
 Parkway
 Tampa, FL 33634




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Senior Care Living VII, LLC                                                                  Case No.
                                                                                 Debtor(s)               Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       January 10, 2022                                         /s/ Mark C Bouldin, President of Senior Care Ownership 4, LLC
                                                                      Mark C Bouldin, President of Senior Care Ownership 4,
                                                                      LLC/Manager
                                                                      Signer/Title




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Senior Care Living VII, LLC          Bluestone Pools, LLC                    HD Supply Facilities Mtnce
3665 East Bay Drive, Ste. 204-429    PO Box 92923                            PO Box 509058
Largo, FL 33771                      Southlake, TX 76092                     San Diego, CA 92150




Michael C. Markham                   Cawley Company                          HM LIfe Insurance Company
Johnson, Pope, Bokor,                PO Box 2110                             PO Box 382038
  Ruppel & Burns, LLP                Manitowoc, WI 54221                     Pittsburgh, PA 15251
401 East Jackson Street #3100
Tampa, FL 33602

A Place for Mom, Inc.                Commercial Safety Systems               Internal Revenue Service
PO Box 913241                        PO Box 8499                             P.O. Box 7346
Denver, CO 80291                     Seminole, FL 33775                      Philadelphia, PA 19101-7346




Accushield, LLC                      Community Payroll                       Magnolia Fisheries
Suite 360                            Suite 400                               PO Box 3087
2030 Powers Ferry Rd SE              301 Anchor Plaza Parkway                Coppell, TX 75019
Atlanta, GA 30339                    Tampa, FL 33634



Airgas USA, LLC                      Direct Supply                           McKesson Medical-Surgical
PO Box 734672                        PO Box 88201                            PO Box 204786
Dallas, TX 75373                     Milwaukee, WI 53288                     Dallas, TX 75320




Allegra                              Echo Lab                                Our Place Tuxedos & Uniforms
107 N Jefferson St                   PO Box 70343                            2044 Smith Street
Tampa, FL 33602                      Chicago, IL 60673                       North Providence, RI 02911




Aquarium Environments, Inc.          Eldermark Software                      Senior Care Living VI, LLC
d/b/a Fish Gallery                   PO Box 844707                           6400 Oilfield Rd
2909 Fountainview Drive              Boston, MA 02284                        Sugar Land, TX 77479
Houston, TX 77057



Aquarius Water Refining              FL Dep of Revenue                       Senior Living Specialists
PO Box 337                           Collection Agency Section               14580 Berklee Drive
Wimauma, FL 33598                    5050 W Tennessee St.                    Addison, TX 75001
                                     Tallahassee, FL 32399



Arrow Exterminators, Inc.            G5 Search Marketing, Inc.               Silversphere, LLC
5750 Rufe Snow Drive                 Dept LA 23988                           Suite 200
North Richland Hills, TX 76180       Pasadena, CA 91185                      2570 W Int'l Speedway Blvd
                                                                             Daytona Beach, FL 32114
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Sodexo, Inc & Affiliates
PO Box 360170
Pittsburgh, PA 15251




Songs & Smiles
Suite 260
129 S Main Street
Grapevine, TX 76051



Thyssenkrupp Elevator Corp
PO Box 3796
Carol Stream, IL 60132




UMB Bank, NA Master Trustee
120 S. Street #1400
Minneapolis, MN 55402




US Foods, Inc.
PO Box 843202
Dallas, TX 75284




Validus Senior Living REIT
Suite 400
4301 Anchor Plaza Parkwy
Tampa, FL 33634



VSL HOldings, LLC
Suite 400
4301 Anchor Plaza Parkway
Tampa, FL 33634
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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Senior Care Living VII, LLC                                                                 Case No.
                                                                                 Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Senior Care Living VII, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Senior Care Ownership 4, Inc




    None [Check if applicable]




 January 10, 2022                                                    /s/ Michael C. Markham
 Date                                                                Michael C. Markham
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Senior Care Living VII, LLC
                                                                     Johnson, Pope, Bokor,
                                                                      Ruppel & Burns, LLP
                                                                     401 East Jackson Street #3100
                                                                     Tampa, FL 33602
                                                                     813-225-2500 Fax:813-223-7118
                                                                     mikem@jpfirm.com




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